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.` CaSe 2:15-cV-08135-KI\/|-.]BC Document 1 Filed 11/18/15 Page 1 of 28 Page|D: 1

UNITED STATES DISTRICT COURT

DISTRICT OF N ERSEY

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([n the space above enter the full name(s) of the defendant(s). If you
cannot fit the names of all of the defendants in the space provided,
please write “see attached " in the space above and attach an
additional sheet of paper with the fiill list of names. The names
listed in the above caption must be identical to those contained in
Part l. Addresses should not be included here.)

I. Parties in this complaint:

A. List your name, address and telephone number. Do the same for any additional plaintiffs named. Attach
additional sheets of paper as necessary

Plaintitf Name lz-£?;Q\ ( V\WEREZA \) @\@/ Q;Z/Dn
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anomaly th die o low x Mt»ta;§ml
State & Zip Code f\l ,-_<0 67 GCQ q
TelephoneNurnber WQ" '4/`<: 3 / j k /

Case 2:15-cV-08135-KI\/|-.]BC Document 1 Filed 11/18/15 Page 2 of 28 Pagei|D: 2 1.

B. List all defendants You should state the full name of the defendants, even if that defendant is a go eminent
agency, an organization, a corporation, or an individual. lnclude the address where each defendan can be
served. Make sure that the defendant(s) listed below are identical to those contained in the above aption.
Attach additional sheets of paper as necess

Defendant No. 1

Defendant No. 2

Defendant No. 3

Defendant No. 4

II. Basis for Jurisdiction:

Name

Street Address , ;§"€l@
County, City %f/(/)/t)

State & Zip Code

Name

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Street Address

 

County, City

 

State & Zip Code

Name

 

 

Street Address

 

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Federal courts are courts of limited jurisdiction. There are four types of cases that can be heard in federal court: l)
Federal Question - Under 28 U.S.C. § 1331, a case involving the United States Constitution or federal laws or treaties

is a federal question case; 2) Diversity of Citizenship ~ Under 28 U.S.C. §

1332, a case in which a citizen c fone

state sues a citizen of another state and the amount in damages is more than $75,000 is a diversity of citizenship case;

3) U.S. Government Plaintiff; and 4) U.S. Government Defendant.

 

A. Wh?y@: basis for federal court jurisdiction? (check all that apply)
ederal Questions Diversity of Citizenship

 

 

 

 

 

issue?f

25

U.S. Govemment Plaintiff

If the basis foruri Juri

 

 

 

 

 

 

 

`s iction is /Federal Questio

what federal Const1tut1011al statutory or eaty rightis s\)
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U.S. Government Defendant

 

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C. If the basis for junsd1ct1on is Diversity of Citizenship, what is the state of citizenship of each party?

Piamnff(s) state(s) ofc1r1zensh1p (/3 C£%/ :Z(’/\)

Defendant(s) state(s) of citizenship T/],//_ j , Q/ '%/ Zf/U
III. Statement of Claim:

State as briefly as possible the _fa_c_t§_ of your case. Describe how §a_cl_i_ of the defendants named in the caption of this
complaint is involved in this action, along with the dates and locations of all relevant events. You may wish to
include further details such as the names of other persons involved in the events giving rise to your claims. Do not
cite any cases or statutes. If you intend to allege a number of related claims, number and set forth each claim in a

separate paragraph Attach additional sheets of paper as necessary.

a Where did th events giving rise to your cla 1 (s) occur? M 611 jail D `L'l@,y( <_:Qq

v ,'1-.6'4_ w .27.25’

Bj` 0"1)“2~22 l:/MY/""?' /`

B. Wh t date and appr ximate id the event giving rise to ur claim(s) occur? /)l_~ z ij

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IV. Injuries:

If you sustained lnjuries related to the events alleged above, describe them and state what m ca1 treatment, if

you required and received `/L"‘ /Q’Y?/) /q" }O/%/MM LSA“¢S/ 55
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V. Relief:

State what you want the Court to do for you and the amount of monetary compensation, if any, you are seeking,

the basis for such compensation

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UN|TéD STATES DISTRICT COURT
OF NEW JERSEY

ClV|L CASE

11/12/15

Karina Robredo

408 Harrison Gardens
Harrison NJ 07029
Cell# 862-452-3981

|, Karina Robredo, l have being looking for a relief of the violation of the State and Federal
Laws violated by: NlETRO HONDA DEALERSH|P lN JERSEY ClTY NJ.

The last intent l did was with Al\/lERlCAN HONDA lVlOTOR CORPORAT|ON lNC. LEGAL
DEPARTMENT. Located on: 1919 Torrance Boulevard, Torrance, California 90501. Number 1-800-
999-1009 CASE #04173855; “per Regional Manager Darryl “said that the case was closed

l am looking for JUSTlCE, DUE TO THE lNJUSTlCE DONE BY AMER|CAN ARB|TRAT|ON
ASSOC|AT|ON. Arbitrating the case under Credibi|ity and not by the FEDERAL LAWS VlOLATED
BY METRO HONDA DEALERSHIP lN NJ. l submitted evidences to prove my case and all has being

ignored by American Arbitration Association.

The first case #18-434 E00762-12 was arbitrated under the Consumer Fraud Act with American
Arbitration Association however; they did not wanted to arbitrate at the Federal Level. The first
Arbitration was closed for no Jurisdiction NO AWARD LETTER WAS GlVEN See E-mai| BELOW
RECE|VED FROl\/l AAA.

Karina R

Cell# 862-452-3981

From: Lois Rosinski <Rosinskil@adr.org >

To: 'Karina R' < robredo70@yahoo.com >

Sent: Tuesday, April 16, 2013 8:42 Al\/l

Subject: RE: Karina Robredo and Metro Honda 18 434 762 12

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Karina, l

As advised on l\/larch 18, 2013 the Arbitrator advised he has no further jurisdiction on this matter,

therefore this case filed would remain closed.

Lois

 

Lois Rosinski

Case Manager - Consumer ADR Operations
American Arbitration Association

950 Warren Ave.

East Providence , Rl 02914-1414
http://www.adr.org/

T:401 431 4993

F:866 644 0234

 

 

 

l was able to reopen a New Case #18 434 E0044-13 with Arbitrator Rolandb Torres who

arbitrated the case under credibility and not on evidence presented (See Exhibit1) award letter

Karina Robredo, respectfully submits a brief explanation as to how this purchase of a new
vehicle was transformed into the biggest nightmare l ever had with the Dealers violating various

Laws at the Federal Level and Arbitrator continue to ignored me and my plea to create justice

This entire case is base on Fraud living me in financial hardship and Physical and Menta|

Distress.
lt is true the statement submitted on this case was entirely, with Prejudice! Meaningi that a
“preconceived judgment or opinion an adverse opinion or leaning formed without grounds or before

sufficient knowledge

The previous case (AAA# 18-434-E-00762-12), was under Consumers FraudlAct N.J.S.A.
56:8-2 Fraud ln connection with sale or Advertisement of merchandise Bait and Switch N.J.A.C.
13:45A-45-26A.4. l spoke over the phone with Mr. Bethea with intention to Finance a New Vehicle

after assurance of qualification of my Nissan Pathfinder for $4,500.00 credit on cashl for clunkers

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Case 2:15-cv-08135-Kl\/|-.]BC Document 1 Filed 11/18/15 Page 9 of 28 PagelD: 9

program The first hearing was in violation of amendment 6, of the U.S. Supreme Court, “right to
testify on my behalf’. How can l judgment be given when this case is entirely on Contract Law and
Violation of Consumers Fraud Act not Criminal case based on Character. l did not bring this claim
before because this Arbitration was on the Violation of the Consumers Fraud Act as stated above at
State Level and that is the reason why Attorney; Koulikourdis, who was representing me was willing
to re-arbitrate at no additional cost. (See Exhibit 2.) At Federal level l would have to pay a new fee
for Attorney services however l am in debt and could not afford a new Attorney fees.

The General Provisions of the contract contain violations of State and Federal laws and the
Statute of Limitations under F.T.C. ACT: The Law does not apply. The integrity of the contract is
sham again the statue of limitations does not apply; U.S.A. - F.T.C. Case Suntrup Buick - Pontiac-
GMC Truck, /NC ETAL DC# 3779.

BR|EF ON THE SALE OF 2006 CR-V

On August 22, 2009; spoke to Mr. Chace Bethea over Telephone (number at the time was 201
-451-7111 ext 1202), with the intention to buy a new vehicle with the program (Cash Allowance

Program) “he said come in to the Dealer and see your car and l work something out”.

Walked in to Metro Honda on Saturday August221 2009 and looking to buy a new vehicle
doing a trade with the Cars Allowance Rebate System, program Created by President Obama {Le_
EXHIBlT 2 l; estimated rebate was $4,500.00. |n addition, l told given of my deposit of $7,000.00 to
lower my Monthly payments due to my fixed income receiving Social Security Disability. He stated
that he was too busy and to comeback on Monday August 24, 2009 “The last day for the cash for
clunkers program”. We have plenty of new vehicles to sell, l had in mind to buy the Honda CR-V and
he said “we have more than enough new Vehicles”. l had done my research as to what kind o f

vehicle wanted to purchase and was certain as to how much l could manage to afford month|y.

On Monday august 24, 2009 we proceeded with the transaction to buy a new vehicle following
the cash for clunkers program again for new and used vehicles (more efficient ) created by President
Obama Executive Summary. l gave Mr. Chase Bethea a check of $7,000.00 to put on hold a white
new CR-V (there was only 2 CR-V color white and the other Black); Mr. Bethea, sent me home to
get the title of my Pathfinder (trade in)and the second set of keys, after he had done a credit check
with a high score of 750 and a car-fax of my trade in Vehicle He stated that l had “0% inance or .09
and the trade of my Nissan Pathflnder was full $4,500.00" and he was going to start my paper work

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to speed the process

After l had returned to the Dealers with the key and title, they had sold the new iwhite CR-V.
So l asked Mr. Bethea, what happened with my $7,000.00 deposit As a corrupted sales person he
pursues for me to buy a used 2006 CR-V, however l had done my homework and l was aware of the
used vehicles estimated price l Hnal|y agree to purchase the 2006 used CR- V. l negotiated
$5,000.00 from the $19,061.00 sales tag to $14,061.00 FlNAL PRlCE NEGOT|ATED SHEET§£§_
EXHIBlT 3). Due to the high 40,000 millage of the vehicle; the Floor Manager lowered the amount in
addition to the down payment of $7,000.00 Down l had given for the White NEW 2009 CR-V.

ln Addition when l called Mr. Bethea, prior to me walking into the Dealers, l have said to Mr.
Bethea that l had never purchase a vehicle from a Dealers and it was my first time.; “ He said hi
will do the best deal i ever had. This is the worse nightmare i had in my life. We madé: the transaction
and took him a long time (walked into the Dealers at 9:00 am and left at 11 :00 pm the`night); he
gave copies of regular white black copies the keys and said that l was going to get my first statement
about 30 days or more being that they were back up because the cash for clunkers sales “ we are not
getting vouchers on time Left the Dealership about 11:00 pm; with the vehicle, and a yellow folder.
ln n the manila folders there was No installments agreement or contract given to me, again had no
knowledge of what documents l had to received because l don‘t work there and never did a purchase

from a Dealerl with keys on hand went home.

On October 2009, l received my first statements with high monthly payments was not what l
had calculated Did not know why my payments were so high, went back to the Dealer and spoke to
Mr. Bethea. He stated that l did not qualify for lower interest rate l asked to speak to a Loan officer
or Manager who approved the transaction and he said that he was no longer there that l could not

change the contract and to apply with a bank to get a car loan somewhere else

l was able to get a car loan, in 2010 and in around May 2010, l also received the installment
payment contract that l never sign.... (See EXHIBlT 41 installment Agreement for 2006 CR-V).
Attorney and witness, from Metro Honda continue to lie and said that l sign the contract. |n
spite of my signature not being clear they claim l sing; the Se|ler's Signature does not appear
in either contract. How add is that? That makes a contract voidable. Violation of the Federal

Law.

JUNE 28, 2010, (See EXHIBIT4 l l went to l\/letro Honda after l received the contract or the
first time from US Bank acknowledge the paid in full of the 2006 Honda CR-V, l did not understand

any of those figures and went back to the Dealer for an explanation of all those amounts Nothing

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made sense to me.

Spoke to Dexter Sander, Sales Manager who instead he put me into a deeper roblem by
selling a NEW HONDA CR- V BUT W|TH a Lease not a purchase CONTRACT (SE: EXHlBlT 5). ln
addition to Dexter Sanders Sales Manager and John Lizares did the paperwork howev:er the sales
transaction of the 2010 CR-V was directly with Dexter Sanders not John Lizares wherj the contract
was to lease not purchase During both hearing, John Lizares and Chace Bethea are oth Lying
under oath about me admitting on signing the contract During Arbitration for m
understanding this is Perjury. Signature is not even clear and why they did not sig the contract
that made this contract voidable). Even ifi had sign the contract, if the amount in question are not
correct i have the right to void the transaction, this was a car sale involving huge amounts of money

involved. Under Business Law a contract not sing by both parties is voidable or neither parties

l

This case was not based on a person looks or character This case was entirely under the
violations of C.F.A... Truex l/Ocean Dodge, /nc. 219 Super.44 (A.D., 1987). U.S.A. - F.T.C. l/.
Gan/ey Ford West, /nc. DC# 1223269, Metro Honda failed to disclose and apply the $5,000.00
negotiated specific dealer’s discounts is deceptive practices (See EXHIBlT 3), Last amount agree
with Sales Manager on the purchase of the 2006 used CR-V

During our first conference call, on September 27, 2012 Arbitrator, Amrom, requested to hire an
Attorney and so l did. lt is clear that the Arbitrator acted Bias or with Prejudice in this case that has
more than enough Hard or Concrete evidence that both transaction are fraudulent with specific
details of the violations of the C.F.A. Consumers Fraud Act. Truex l/.Ocean Dodge, /nc. 219 Super. 44
(A.D., 1987)

My questions werel How this transaction was calculated? Why the change of interest financed
from 0% or .09 % to 9.25%, (See EXHlBlT 62, additional insurance, The entire transaction from
i\/letro Honda by Mr. Bethe, failed to disclose requirements by F.T.C. TlLA and CLA implementing
Regu|ation Nl, and Z. There is no excuse for these violations; l\/letro Honda is fully liable for such

violations

U. S.A - F. T.C. \/ Dun,oh y Nissan, /nc corporation Serge Naumovsky officer of corporation
DC# C3924. February 2000. lt is proven, that Nletro Honda violated provisions of the Federal Trade
Commission Act 15, U.S.C.45-458 as amendment the Consumer Leasing Act, 15 U.S.C. 1667-1667f
as amended, and its implemented Regulation Nl, 12 C.F.R. 213, as amended and the Truth in Lending
Act, 15 U.S. C. 1601-1640~1667.

Prior Case: AAA# 18-434-E 00762-12, One year statute of limitations: FTC Under Contract

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i_aw, Parole Evidence: if the parties to a contract set forth its terms in a confirmatory memorandum
(ace of a deal), in writing intended as their final expression, the terms of the contract cannot be
contradicted by evidence of any prior agreements or oral agreements The agreement set of the first
car 2006 Honda CR-V agreed was $14,061.00 nowhere in the computer generated contract this
amount is found. ( See EXHIBIT3AND 4). final price negotiated in writing. The contract was very
contradicted in all terms

Unconscionabie: A contract is one that is unfair and one-sided that enforcing it would be
unreasonable the amount of the Honda CR-V had a high interest rate why? And is this
unconscionable? Under FTC, and KBB the average price of a used Vehicle of the kindi is about
$15,000 the total amount on contract was $28,439.00 which doubles the amount on the final written
negotiation previously provided (See EXHIBlT 3 AND 4Lfinal price negotiated in writing. The contract
should had being be void. (N.J. Stat. Ann 56:8-2) Statute a. broadly prohibits unfair or
unconscionable acts, deceptive acts (N.J. Stat. Ann 56:8-4) The state has adopted a number of

regulations

Duration of an ongoing contract: A single contract may specify successive performance but not
indicate how long the parties are required to deal with one another Either party can terminate the
ongoing contractual relationship in good faith reasonable notification should be given. l intended to
fix this problem for more than one occasion out court with no success, October 2009, in June 2010,
December 2011, till Present. The contract was actually disseminated by the Salesperson Chace
Bethea in 08/24/09 and Dexter Sanders Sales Manager in 06/23/10. Mrs. Sanders leased a vehicle
to put the burn on me to pay for Mr. Bethea mistake and they did not want to take the blame but
sooner or later l realized what they had done. if i do not work why would i had Lease a Vehicle when

it will be driven once or 2 times a week?

The Statute of Limitations: The law does not apply, Under the FTC and TiLA, because the contract is
unconscionable The contact cannot be enforced it is grossly unfair. if the seller takes advantage and
is proven that the amount of the sale of good should be equal to the amount paid. This contract
cannot be enforceable Mr. Bethea took advantage of me based on Vu|nerability being a first time car
buyer from a Dealer. in addition being an ongoing contract the 2010 CR-V was repossess in Ju|y
2012, for nonpayment Again Statute of Limitations under F.T.C. ACT: The Law does not app|y,
based on several Federal and State Violations. Please See: U.S.A. - F.T.C. Case Sunfrup Bui`ck-
Ponfiac_-GMC Truck, INC ETAL DC# 3779.

Under N.J. Consumers Protection on unfair and Deceptive Acts and Practices: Statutes:
Avaiiable remedies public enforcement, (N.J. Stat. Ann 56-8 8) Equitabie relief, (N.J. Stat. 56-8-8,

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56-8-14, 56-8-15), restitution for consumers, (N.J. Stat. Ann 56-8-13), Civil penalty am unt for initial
violations (up to $10,000 for first offense, $20,000 for second and subsequent offense

Attorney Drasin, For l\/letro Honda provided witnesses who are dishonest and lie under oath
on both Arbitration’s. sales person John Lizares, lie several times stating that in the previous
Arbitration of February 7th 2013 “l agree of signing the contract”, this is perjury again. il NEVER
AGREE VERBALLY NOR lN WRlTlNG OF ANY SlGNATURES ON THE FlRST CON y RACT,

( NEVER SAW THE DOCUMENT UNTlL 2010) of the first vehicle and is written in every report
presented why would l had waited 9 months to fix the problem This is called illegal behavior,
misconduct, financial crime and Scam.

The Uniform Commercial Code (UCC): The National Average price of a new CR-V with taxes
fees in 2015 is $28,000.00 with no Money down. Metro Honda sold the Lease Contract of the New
CR-V for over $40,000.00; still above the average price Nationwide. A used CR-V with 40,000 miles in
2015 average is $15,000.00 with a monthly payment of $221.00 per month. l was paying over
$450.00 per month for the 2010 CR-V. is this fraud or not? Taken 3 vehicles away and left with no
car after paying over $25,000.00. l could had purchase a smaller vehicle and be payoff at this
moment

internal documents sent to Attorney Kou|ikourdis and Associates C|early states that the
Lease of a 2010 CR- V was $45,895.29 OVER $20,000 MORE OF A RETA|L PRlCE and the 2006
CR-V was sold for 28,439.60 (SEE EXHlBlT 4). This is the only document that clearly states the
actual amount of each vehicle is this the fair market price for these 2 vehicles? F.T.C. TlLAAND
CLA, Metro Honda fails to implement
The Second Arbitration case is based on the Vioiations of FTC and it’s General Provisions which
includes Fair and Accurate Credit Transactions. Misrepresentation of transaction, contract false or
misleading Faiiure to disclose or failure to adequately disclose Lease and Credit terms Faiiure to
disclose required information Dealer violations of CLA and TlLA U. S.A - F. TC. \/. Dunphy Nissan, inc
corporation Serge Naumovsky officer of corporation DC# C3924.

in conclusion: NeitherArbitration litigated the case implementing the Law violated by Metro Honda.
first Case was closed for no Jurisdiction Second Arbitrator litigated the case character This was not
a criminal case. This Case is about the violations of Federal and States Laws in the sale of a vehicle
(Fraud). l have proven the truth that Metro Honda purposely committed fraud and violated several
Federal Laws “ Federal and State regulations are to be implemented not ignored. i am sure

that Metro Honda and its employees are aware of how to prepare a contract and follow its

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'ruies they know not to violate the ruies. `i

For the second hearing which was denied by Arbitrator Torres1 award letter (Seé EXHIBlT 1i.
Arbitrator Torres, also based the case on credibility and not the evidence presented ii have a
financial loss of over $30,000.00 with 3 years 3 times my yearly Disability income Dealers Attorney
Mrs Drasin, also allege Harassment on my part when my life has being miserabie dui:o such high
Financial Lost leading to physical pain and mental aggravation They had intimidated ` e by ruin my
credit, taking my money and 3 vehicles in their possession to be resold by Metro Honda and left with
no vehicle My question who’? is harassing who’? When l am also in collections with almost $6,000.00
in debt. This problem continued to torment me for more than 3 years The Metro Honda and Mr.
Betheas, had ali my financial status; (See EXHlBlT 7) Credit report and applicant information they
distress my life for the past 3 years not even being able to provide food on my table Had to
purchase a used vehicle in 2012, because my health condition l could also have keep my old trade
or buy another vehicle with $7,000.00, l had in cash. Did they take advantage because l was
disabled’? Or l am a woman'? With no experience of the Dealers corruption? l am also including the
interest rate for used and new cars provided by the l reported the interest rates for the State of New
Jersey based on the Federal Reserve System from 2009 to 2013, was FiCO Score used 3.171 new

3.144. was i robbed?

Consumer Fraud Act N.J.S.A. 56: 8-2

Bait and Switchl unlawful practice the negotiation of the $5,000.00, it was not deducted and was the
final agreement Please See Exhibit. Undervalued of the vehicle traded in, under cash for clunkers
my Pathfinder qualified for $4,500.00 credit. Loan agreement, how did the Loan Officer came out with
an unconscionability interest rate of 9.26 % when the average is about 2.5 to 3.5 percent See:
attached rate provide by KBB Dealer scam and offered to trade in: l was looking to buy an new

vehicle not rent l do not work why should l lease a vehicie?
Federal Trade Commission Act of 1914 (FTC), Amended in 1938 15.U.S.C. -45

Advertising: The act, as amended in 1938, authorizes FTC to prohibit “unfair or deceptive acts or
practices” is to ensure that consumers are not misled by deceptive advertising The FTC procedure
is trough a complaint of a consumer or competitor Similar to the CFA, FTC also attacked deceptive

price advertising, misleading, and unfair

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Bait and Switch: Metro Honda fail to deliver the advertise vehicle and switched the pri e of the
vehicle

The FTC Statutes: Consumer Credit Protection act, (TiLA) the Truth in lending Act of 1968. 15.
U.S.C. -1601

Credit: Requires creditors to disclose certain loan terms, so that prospective debtor understands the
contract and can shop around for the best financing arrangements TlLA cover transactions less
than $25,000_00; such as retail and installments loans, car ioans, home improvements loans and
certain small real estate loans if transaction falls into TlLA: Disclosure rules are found in regulation
Z, this regulation includes a model to be used to disclose to consumers’ detailed information, Amount
Finance and APR. Example: if you purchase a $10,000 car on credit from a dealer The dealer
also offering credit must disclose the finance charge and the annualized percentage rate on the loan.
This means that the dealer MUST inform of the total interest charges to be paid over the life of the
Loan as well as the percent of interest applicable to the loan. The Dealer MUST tell you the number
of payments, the dollar amount of each payment and when the payment is due The Dealer M_i.§t_
disclose any terms applying to prepayment - such as whether an interest penalty attaches if the loan
is prepaid

lt is evident that l\/letro Honda has violated many of FTC,T|LA, Reguiation Z, Regulation M and
(UCC) Article 2 the sale of goods: (UCC) 2-201-3B, 2-302, 2-607-3-A, 2-713. Creditors that violate
the terms of TlLA, Federal Agencies, including FTC and the Justice Department, may sue the violator
Criminal penalties include one year in Jail and $5,000 fine for each violation. “ TlLA was designed to
be enforced primarily through lawsuits filed by consumers acting like private attorney generals, there
suits use an objective standard in determining violations of TlLA; it is not necessary to prove that the
plaintiff -consumer was actually deceived but only that the credit agreement at issue is deceptive”.
(United States Court), U.S.C. F.TC. vs Timoniun Chrys/er, /NC. d/b/a Don White’s Ti'moniun,
Chrys/er Jeep Dodge Section 4 of the Act, 15 U.S. C. -44

Vioiations of the Federal Trade Commission Act, “The acts and practices of respondent as alleged
in this complaint constitute deceptive acts or practices in or affecting commerce in violation of Section
5(a) of the FTC Act, 15 U.S.C. § 45(a).”

Consumer Leasing Act, (CLA) Regu|ation M: The Consumer Leasing Act (15 USiC 1667 et seq.)
(CLA) was passed in 1976 to assure that meaningful and accurate disclosure of lease terms is

provided to consumers before entering into a contract. lt applies to consumer leases of personal

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'propeity. With this information, consumers can more easily compare one lease with an ther, as well
as compare the cost of leasing with the cost of buying on credit or the opportunity cost fpaying
cash. in addition, the (CLA) puts limits on balloon payments sometimes due at the endgof a lease and
regulates advertising z

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l
Federal laws requires all motor vehicle sales to disclose ali terms and conditions of a loan, per

conditions of the vehicle new or used, test drive advertisement transaction and fees, having enough
vehicles to seil, according to the APR of 0% for qualified buyers Did l qualify for 0% finance’?
Vioiations of Consumer Leasing Act TlLA Metro Honda Fail to disclose Lease terms, fail to disclose
credit terms TlLA: violations of regulation Z, disclosure of term and conditions of Loan. “USA FTC
vs. DUNPHY N/SSAN, /NC a corporation and SERGE NAUMO VSKY, individual and officer of the
corporation”, l should had left Metro Honda with a New Vehicle with a 0% Finance.

if Arbitrator finds all facts within this counterclaim to be true the settlement of this claim is
monetary relief of treble damages as case is within merit. l would like to have a fair hearing not bios
as previously adjudicated On 12/12/13, Arbitrator Torres requested a brief describing how each
transaction was connected one vehicle to the other, to provided detailed account and concrete
evidence supporting brief. This case was reopening by the AAA Sue Anne Esterly-Parrish Case
Fiiing Specialist, inspected by a Supervisor. Most important, the opening of a new claim had to
provide violations of Federal Laws occurred if evidence presented supports my claim, Arbitrator, has
the right to enforce the law under AAA RULE -23: Enforce order under applicable Law such as: FTC
and the TlLA, misrepresentation of advertisement1 Transactions, failure to disclose Lease and Credit

Terms, Regulation M, Regulation Z.

l am not looking for free money; l am looking to get back the monies l paid which are not a
monetary award but a refund of monies paid Chace Bethea, infected a sample sale of a vehicle The
violations of General Provision were made by Nietro Honda and its employees The (3) vehicles
involved in this case probably were sold and paid off to Metro Honda. This transaction resulted in
harassed stressed, worried, and tense Finaily my only mistake was to tell Mr. Bethea that it was my
first time buying a vehicle from a dealer, Vu|nerability was my only mistake l am permanent disable
which increases my physical health to be worried, sick, nervous, and afraid in financial debt with no
Vehicle and upset for the Harassment l encounter by Metro Honda. Lastly Financial Hardship Metro
Honda l am placed since December 2011. The case was reopened under FTC and TlLA laws
clearly violated during both transactions if this case has full merit to be heard by a fair Judge. The

action of Mr. Bethea was premeditated and his behavior is neither legal nor moral. l am seeking

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monetary relief l am a victim of a scam prepared by Nletro Honda and its employees l

Any loan officer can see the fraudulent transaction, and he was correct two other Dealers
revised the contracts and agreed (See EXHIBlT 41. in 2015, l meet someone who had purchase a
NEW 2006 HONDA CR-V in 2006 and was able to provide a copy of her vehicle with additional
features, such as leather seats and vehicle was purchase at another Dealer This person had a lower
credit score and was given a very low interest rate However it was too late to provide this document
to American Arbitration Association. if l had to appeal the case l had 30 days from date of award
letter 12-23-2014, meet this person the following year around may 2015. AAA based the case on
credibility and not under the CONSUMER FRAUD ACT.

Treb|e Damages

1. Lastly, according to section 56:8-19 of the Consumer Fraud Act, person victimized by these
unlawful practices is entitled to treble damages, or threefold the damages sustained N.J.S.A.
56:8-19. lt is clear that Metro Honda has committed at least one if not multiple unlawful
practices The next step is to determine whether the plaintiff suffered any ascertainable loss
Cox v. Sears roebuck & company, 138N_J. 2 at 22(N.J., 1994) as listed above l had expended
a large amount of money, time in relation to a transaction that violated State and Federal Laws

l pay out at least $26,000.00 towards a vehicle that l do not own plus attorney fees of
$3,500.00, Purchase of another vehicle for almost $7,000.00, mail copies for unnecessary
losses and punitive damages lt is also significant that according to 56: 8-19, and the use of
the word, “shall” indicates that once a violation of the consumer fraud act is determined and
there was ascertainable loss associated with misconduct, that treble damages are mandatory,
not discretionary Sear324, Seer i/EMK Motors, /nc 187N.J. super 465 (N.J. Super. A.D.
1982).

Thank You

Karina Robredo 11/12/15

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CERTIF IATION OF SERVICE

A% /\M' OE 505 0 ,certify that a co of my motion was served

( amech0v1ngParty) d{fé
by ii n On j Qoi§' upon:

W(vMail, Personal Service, etc.) (Date)

W&W Q £L.Q>r(l%/

(Name of Opposing Party)

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(Address of Opposing Party)

 

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Name (Signature)

 

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APPENDIX K. SCHEDULE OF FEES i

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

Oft`ice of the Clerk
Schedule of Fees
The Clerk of the District Court is required to collect the following fees:

Commencing any civil action or proceeding other than an application for writ of habeas corpus l

Filing fee - $350 plus $50 Administrative Fee (inapplicable to IFP) $ 400.00
Application for a writ of habeas corpus 5.00
Filing a Notice of Appeal in any case

Fee includes $5 district court fee (28 U.S.C. § 1917) 505.00
Filing a Notice of Appeal to District Judge from a Judgment of Conviction

by a Magistrate Judge in a Misdemeanor Case 37 .00
Certificate of Search, per name or item 30.00
Certitication of any document l 1.00
Exemplification of any document j 21.00
Filing miscellaneous paper (any document not related to a pending case or proceeding) 5 46.00
Registration of foreign judgment 46.00
Admission of Attorney to Practice (including certificate) 200.00
Duplicate Attorney Certificate of Admission 20.00
Certificate of Good Standing to Practice l 18.00
Admission to Appear Pro Hac Vice (each case) 150.00
Paper copies made by Clerk (not including ceitification), per page .50
Reproduction of audio recording of a court proceeding 30.00
Retn`eval of first box of records from Federal Records Center or National Archives 64.00
Retlieval of additional boxes from Federal Records Center or National Archives, per box 39.00
Any payment into the Court which is returned or denied for insufficient funds 5 3.00
Processing fee for a petty offense charged on a federal violation 25.00

Commencing a civil action under Title III of Cuban Libeity and Democratic Solidarity i
(LIBERTAD) Act of l996 (This fee is in addition to the fee for commencing
a civil action.) 6,355.00

CHECKS AND MONEY ORDERS SHOULD BE MADE PAYABLE TO:
CLERK, UNITED STATES DISTRICT COURT

May l, 1987
Amended effective December 18, 1996; April l, 1997; January l, 1998; February l, 2001; July l, 2001;
October l, 2002; November l, 2003; June l, 2004; February 7, 2005; March 22, 2005; April 9, 2 )06;

November l, 2011; June l, 2012; May l, 2013; December l, 2013, December l, 2014.

 

